                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF TENNESSEE
                               AT GREENEVILLE

UNITED STATES OF AMERICA                        )
                                                )
v.                                              )      No.:   2:09-CR-084
                                                )
PHILLIP J. SHOWS                                )

                           MEMORANDUM AND ORDER

      This criminal case is before the court on the defendant’s motion for sentence

reduction [doc. 698]. Through counsel, the defendant asks the court to resentence him

pursuant to 18 U.S.C. § 3582(c)(2) and in accordance with Amendments 782 and 788 to

the United States Sentencing Guidelines Manual (“U.S.S.G.”). The prosecution has

responded [doc. 707], deferring to the court’s discretion whether and to what extent to

grant any such reduction, subject to the limitations of 18 U.S.C. § 3582(c)(2) and

U.S.S.G. § 1B1.10.

      Specifically, the defendant asks for a reduced sentence of 90 months which

includes reapplication of an 11-month reduction “for prior jail credit time” [doc. 698, p.

2], and the United States does not oppose that request [doc. 707, p. 3]. The court cannot

agree, however, that it has the authority to impose a 90-month sentence. The defendant’s

term of imprisonment will instead be reduced to 100 months, which should still render

him eligible for release on November 2, 2015.

I.    Authority

      “Federal courts are forbidden, as a general matter, to modify a term of

imprisonment once it has been imposed, but the rule of finality is subject to a few narrow



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exceptions.” Freeman v. United States, 131 S. Ct. 2685, 2690 (2011) (internal citation

and quotation marks omitted). One such exception is identified in 18 U.S.C. § 3582:

      [I]n the case of a defendant who has been sentenced to a term of
      imprisonment based on a sentencing range that has subsequently been
      lowered by the Sentencing Commission . . . , the court may reduce the term
      of imprisonment, after considering the factors set forth in [18 U.S.C.]
      section 3553(a) to the extent that they are applicable, if such a reduction is
      consistent with applicable policy statements issued by the Sentencing
      Commission.

18 U.S.C. § 3582(c)(2) (emphasis added). If the court finds a defendant eligible for

sentence reduction, “[t]he court may then ‘consider whether the authorized reduction is

warranted, either in whole or in part, according to the factors set forth in §

3553(a).’” United States v. Thompson, 714 F.3d 946, 949 (6th Cir. 2013) (quoting Dillon

v. United States, 560 U.S. 817, 826 (2010)).

      In determining whether a defendant has been sentenced to a term of imprisonment

based on a sentencing range that has subsequently been lowered by the Sentencing

Commission, the court must first identify “the amended guideline range that would have

been applicable to the defendant had the relevant amendment been in effect at the time of

the initial sentencing.” Dillon, 560 U.S. at 827 (internal quotation marks and citation

omitted); see also U.S. Sentencing Guidelines Manual § 1B1.10(b)(1) (2014).

Amendment 782, which became effective on November 1, 2014, revised the guidelines

applicable to drug-trafficking offenses by reducing the offense levels assigned to the drug

and chemical quantities described in guidelines 2D1.1 and 2D1.11. See U.S. Sentencing

Guidelines Manual app. C, amend. 782 (2014). Amendment 788, which also became

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effective on November 1, 2014, identified Amendment 782 as retroactive.             See id.,

amend. 788.

       Other than substituting Amendment 782 for the corresponding provision

applicable when the defendant was originally sentenced, the court “shall leave all other

guideline application decisions unaffected.” See U.S. Sentencing Guidelines Manual §

1B1.10(b)(1) (2014). The court “shall not” reduce a defendant’s term of imprisonment

to a term “less than the minimum of the amended guideline range,” nor to a term “less

than the term of imprisonment the defendant has already served.” Id. § 1B1.10(b)(2)(A),

(C) (emphases added). 1 In addition, the commentary to guideline 1B1.10 provides that a

court must also consider the § 3553(a) sentencing factors and the danger to the public

created by any reduction in a defendant’s sentence. See id. cmt. n.1(B). A court may

further consider a defendant’s post-sentencing conduct. See id.

II.    Factual Background

       By judgment dated October 25, 2010, this court sentenced the defendant to 111

months’ imprisonment as to Count One (conspiracy to distribute and possess with the

intent to distribute oxycodone) and Count Three (money laundering conspiracy), to be

served concurrently for a net term of 111 months. The defendant’s guideline range was

121 to 151 months, based on a total offense level of 29 and a criminal history category of

IV.
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          As will be further discussed below, guideline 1B1.10 provides only one exception to
the rule that a defendant may not receive a sentence below the amended guideline range—
namely, if the defendant originally received a below-guideline sentence “pursuant to a
government motion to reflect the defendant’s substantial assistance to authorities.” Id. §
1B1.10(b)(2)(B). No such motion was filed as to this defendant.
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       In calculating the defendant’s sentence, the court began at a within-guideline term

of 122 months and then applied an 11-month reduction to account for time already served

on a related and already discharged sentence from the 19th Circuit Court, Indian River

County, Florida.    The 11-month reduction was a downward departure pursuant to

Application Note 4 of U.S.S.G. § 5G1.3 (now Application Note 5), resulting in the

below-guideline sentence of 111 months.          According to the Bureau of Prisons, the

defendant is presently scheduled for release on May 7, 2016.

III.   Analysis

       Applying Amendment 782, the defendant’s new guideline range is 100 to 125

months, based on a total offense level of 27 and a criminal history category of IV. Thus,

the defendant was originally sentenced to a term of imprisonment based on a sentencing

range that has subsequently been lowered by the Sentencing Commission.

       The court has considered the filings in this case, along with the relevant 3553(a)

factors. Additionally, the court has considered the danger to the public as the result of

any reduction in the defendant’s sentence, the seriousness of the defendant’s offense, the

defendant’s post-sentencing conduct, and the need to protect the public. See id. § 1B1.10

cmt. n.1(B)(ii), (iii). Having done so, the court finds that the defendant should be granted

a sentence reduction to 100 months, the bottom of his new guideline range.

       Neither party has articulated how a below-guideline sentence of 90 months would

be authorized in this case. As noted, this court is statutorily permitted to reduce the

sentence “of a defendant who has been sentenced to a term of imprisonment based on a

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sentencing range that has subsequently been lowered by the Sentencing Commission[,]”

but only if “such a reduction is consistent with applicable policy statements issued by the

Sentencing Commission.” 18 U.S.C. § 3582(c)(2).

       Guideline 1B1.10 is a policy statement of the Sentencing Commission. See U.S.

Sentencing Guidelines Manual § 1B1.10 (2014). With one exception not applicable to

this case, policy statement 1B1.10 instructs that “the court shall not reduce the

defendant’s term of imprisonment under 18 U.S.C. § 3582(c)(2) and this policy statement

to a term that is less than the minimum of the amended guideline range . . . .” Id. §

1B1.10(b)(2)(A) (emphasis added).       The inapplicable exception is where a below-

guideline sentence was originally imposed pursuant to a substantial assistance motion

filed by the government. See id. §1B1.10(b)(2)(B). Under those circumstances, the court

can then incorporate a comparable substantial assistance reduction in the amended

sentence. See id.

       As mentioned, no substantial assistance motion was filed in this case. Instead, the

defendant’s original below-guideline sentence was imposed pursuant to Application Note

4 of U.S.S.G. § 5G1.3 (2009) which provides,

       In the case of a discharged term of imprisonment, a downward departure
       is not prohibited if the defendant (A) has completed serving a term of
       imprisonment; and (B) subsection (b) [of U.S.S.G. § 5G1.3] would have
       provided an adjustment had that completed term of imprisonment been
       undischarged at the time of sentencing for the instant offense. See §
       5K2.23 (Discharged Terms of Imprisonment).

U.S. Sentencing Guidelines Manual § 5G1.3 cmt. n.4 (2009) (emphases added).


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      Application Note 4 was satisfied at the original sentencing because the defendant

had completed service of a term of imprisonment for related conduct and would have

been eligible for an “adjustment” under § 5G1.3(b) if his discharged prior sentence had

instead been partially undischarged. Guideline 5G1.3 applies only to undischarged terms

of imprisonment. See U.S. Sentencing Guidelines Manual § 5G1.3 It is for that reason

that Application Note Four directs the reader to U.S.S.G. § 5K2.23 which applies to

discharged terms of imprisonment and provides in material part,

      A downward departure may be appropriate if the defendant (1) has
      completed serving a term of imprisonment; and (2) subsection (b) of §
      5G1.3 . . . would have provided an adjustment had that completed term of
      imprisonment been undischarged at the time of sentencing for the instant
      offense.

Id. § 5K2.23 (emphasis added). Plainly, a below-guideline sentence pursuant to § 5K2.23

is the result of a “downward departure.” See id.

      Returning to the Sentencing Commission’s § 1B1.10 policy statement, Application

Note Three makes clear that the court cannot carry over a prior departure or variance that

would result in an amended sentence below the amended guideline range. See U.S.

Sentencing Guidelines Manual § 1B1.10 cmt. n.3 (2014). The court can only sentence

below the amended guideline range if it is imposing a substantial assistance reduction

comparable to the one imposed at the original sentencing. See id. Therefore, imposing a

term of imprisonment of less than 100 months in this case would not be consistent with

the Sentencing Commission’s applicable policy statements and is thus not authorized by

18 U.S.C. § 3582(c)(2).

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      This court is aware of the United States v. Malloy ruling from the United States

District Court for the Northern District of New York. The Malloy court acknowledged

that application of § 5K2.23 “is technically a ‘departure.’” However, Malloy received an

amended sentence 20 months below his amended guideline range pursuant to § 5K2.23

because, “A contrary result would be, simply put, inequitable.” Malloy, 845 F. Supp. 2d

475, 484-85 (N.D.N.Y. 2012).

      Guideline 1B1.10 can indeed sometimes produce a result that could be viewed as

inequitable. This court nonetheless remains statutorily bound by 18 U.S.C. § 3582 and is

not authorized to impose an amended sentence inconsistent with “applicable policy

statements issued by the Sentencing Commission,” such as U.S.S.G. § 1B1.10. See 18

U.S.C. § 3582(c)(2).

      Lastly, the court recognizes that guidelines 1B1.10 and 5K2.23 are both policy

statements of the Sentencing Commission and are arguably in conflict with one another.

To the extent that a conflict does exist, the court concludes that it is § 1B1.10 which

controls. Guideline 1B1.10 is the more specific statement, relating to what “shall not”

happen in a sentence reduction. Guideline 5K2.23, on the other hand, only advises what

“may be appropriate” at an initial sentencing. Further, § 1B1.10 expressly references 18

U.S.C. § 3582(c)(2) six times, whereas § 5K2.23 references no statute at all. See, e.g.,

United States v. Williams, 575 F.3d 1075, 1078 (10th Cir. 2009). Most particularly, §

1B1.10(a)(1) specifies that “[a]s required by 18 U.S.C. § 3582(c)(2), any such reduction

in the defendant’s term of imprisonment shall be consistent with this policy statement.”

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“None of the other . . . ‘policy statements’ speak directly to § 3582, and none constitutes

an exercise of the Commission’s authority under [28 U.S.C.] § 994[u]. Instead, these

[other policy] statements are simply advisements by the Commission . . . .” Williams,

575 F.3d at 1078.

IV.    Conclusion

       For these reasons, the defendant’s motion [doc. 698] is GRANTED IN PART.

The defendant’s term of imprisonment is reduced to 100 months. If this sentence is less

than the amount of time the defendant has already served, the sentence shall instead be

reduced to “time served.” See id. § 1B1.10(b)(2)(C).

       Except as provided above, all provisions of the judgment dated October 25, 2010,

shall remain in effect. The effective date of this order is November 2, 2015. See id. §

1B1.10(e)(1).

                IT IS SO ORDERED.

                                                        ENTER:



                                                               s/ Leon Jordan
                                                         United States District Judge




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